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PAGE 1 – PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO
         RESPOND TO DEFENDANTS’ JOINT MOTION TO DISMISS FIRST
         AMENDED COMPLAINT
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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION

 LOUJAIN HATHLOUL ALHATHLOUL,                        Civil No. 3:21-cv-01787-IM

                                    Plaintiff,
 v.                                                  PLAINTIFF’S UNOPPOSED MOTION
                                                     FOR EXTENSION OF TIME TO
 DARKMATTER GROUP,                                   RESPOND TO DEFENDANTS’ JOINT
 MARC BAIER,                                         MOTION TO DISMISS FIRST
 RYAN ADAMS, and                                     AMENDED COMPLAINT
 DANIEL GERICKE

                          Defendants.
 __________________________________

                            LOCAL RULE 7-1 CERTIFICATION

        The undersigned counsel certify that counsel for Plaintiff have conferred with counsel for

Defendants and Defendants assented to this motion.

      MOTION FOR EXTENSION OF TIME TO RESPOND TO DEFENDANTS’ JOINT
              MOTION TO DISMISS FIRST AMENDED COMPLAINT

        Plaintiff Loujain Alhathloul, by and through her undersigned counsel, hereby submits this

Unopposed Motion for Extension of Time to Respond to Defendants’ Joint Motion to Dismiss

First Amended Complaint. Plaintiff seeks to extend the deadline for filing her response up to

and until September 12, 2023.

        Defendants served their Joint Motion to Dismiss electronically through CM/ECF on July

10, 2023. (See Joint Motion to Dismiss First Amended Complaint (ECF 63)). According to

Local Rule 7-1(e), Plaintiff must file and serve any response within 14 days after service of the

motion, which would make Plaintiff’s response due on July 24, 2023.


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       Plaintiff requests an extension up to and until September 12, 2023, to file her response.

Defendants assented to this request.

        The request comes due to Plaintiff’s location overseas, and precautions that must be

taken to communicate with her securely, which meaningfully delay counsel’s ability to discuss

the case with her. In addition, this request comes due to pre-existing commitments of Plaintiff’s

counsel, including briefing due in other cases and travel scheduled over this response period.

These reasons provide good cause for an extension. This request is made in good faith and not

for purposes of delay.

       WHEREFORE Plaintiff hereby respectfully requests that the Court grant this unopposed

motion for an extension of time until September 12, 2023, for Plaintiff to file her response to

Defendants’ Joint Motion to Dismiss.

       Dated: July 18, 2023.                  BOISE MATTHEWS DONEGAN LLP

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